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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF ILLINOIS
                           EASTERN DIVISION


                STANDING ORDER REGARDING CIVIL CASES

       This order provides pertinent instructions to parties and counsel concerning
recent events affecting cases before Judge Kness. On April 24, 2020, Chief Judge
Rebecca R. Pallmeyer entered Third Amended General Order 20-0012. Paragraph
Five of the Third Amended General Order provides that, “In any civil case (other than
Social Security disability appeals, cases involving an unrepresented person in
custody, and Multi-District Litigation tag-alongs) where no docket entry or order has
been posted by the assigned judge since March 16, 2020, the parties shall file a joint
written status report by May 18, 2020.” Paragraph Fifteen of the Order further
provides that “[t]his Third Amended General Order does not affect the authority of
judges to enter orders in any civil or criminal cases.” Because the Court is acutely
aware that both the reassignment of cases to Judge Kness and the onset of the current
public health emergency (and the resulting Court-wide scheduling orders) have
created the potential for confusion with respect to various case-scheduling matters,
the Court provides the following additional direction.

       In any civil case (other than Social Security disability appeals, cases involving
an unrepresented person in custody, and Multi-District Litigation tag-alongs) filed
before February 28, 2020 and later reassigned to Judge Kness, the parties shall,
no later than May 18, 2020, confer, prepare, and file a joint status report. In preparing
the joint status report, the parties must use the “Joint Status Report for Reassigned
Cases” template available here on Judge Kness’s Court webpage (look right in the
middle of the page).

       Like most rules, however, this one also has exceptions. EXCEPTION #1:
Parties who have already filed a Joint Status Report before Judge Kness within the
previous two months need not file a second report unless there have been material
developments in the case that should be brought to the Court’s attention. In
construing this admittedly imprecise standard, parties and counsel unsure whether
they should report recent case developments are encouraged to err on the side of filing
an updated report. EXCEPTION #2: This order does not apply to cases filed and
assigned to Judge Kness on or after March 2, 2020. For cases filed on or after March
2, 2020, the Court will in due course enter a separate minute order providing further
instructions. With respect to motions, parties and counsel are highly encouraged to
review Judge Kness’s Court webpage for instructions concerning the Court’s current
(interim) motions policy, as well as instructions for contacting the courtroom deputy.
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      Finally, the Court thanks the parties and counsel for their continuing patience
and professionalism during this challenging time.

SO ORDERED.                                         ENTERED: April 30, 2020


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                                                    JOHN F. KNESS
                                                    United States District Judge




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